                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

 ISABEL ZELAYA, et al.,                                )
                                                       )
                Plaintiffs,                            )
                                                       )
 v.                                                    )       No. 3:19-CV-62-PLR-HBG
                                                       )
 JERE MILES, et al.,                                   )
                                                       )
                Defendants.                            )

                                              ORDER

        This case is before the undersigned pursuant to 28 U.S.C. § 636, the Rules of this Court,

 and Standing Order 13-02.

        Now before the Court is the United States’ Statement of Interest and Motion for Entry of

 Protective Order (“Motion for Protective Order”) [Doc. 27]. The parties appeared before the Court

 for a motion hearing on April 1, 2019. Attorneys Julia Solorzano, Melissa Keaney, Meredith

 Stewart, and Philip Cramer were present on behalf of Plaintiffs. Attorneys Kenny Saffles and

 Leah McClanahan appeared on behalf of Defendant Miles. Attorneys Saffles and McClanahan

 also appeared on behalf of the United States. Accordingly, for the reasons explained below, the

 Court GRANTS IN PART the United States’ Motion [Doc. 27].

        In its Motion, the United States requests an order directing the Clerk to redact the

 individual-capacity Defendants’ personal information that has already been disclosed in the

 Complaint, in the summonses, in the returns, in Plaintiffs’ Motion for Leave to Take Expedited

 Discovery, and Plaintiffs’ Reply in support thereof. In addition, the United States requests that the

 Court direct the parties that the personal information of any federal employee not be disclosed in

 the public record in the future.



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         The United States submits that it is not a party to the instant action but that it has an interest

 in protecting the personal information of its employees. For grounds, the United States submits

 that Defendants are law enforcement officials and that protecting their personal information is

 justified due to safety concerns. Further, the United States contends that the burden of good cause

 is easier to meet in this case due to the recent targeting of ICE agents and employees.

         Plaintiffs filed a Response [Doc. 38], stating that they do not object to protecting the public

 disclosure of home addresses, telephone numbers, personal email addresses, and any information

 identified in Federal Rule of Civil Procedure 5.2. Plaintiffs state, however, that the United States

 does not adequately define what additional information it seeks to protect.

         At the hearing, the United States stated that it was difficult to define what constituted

 personal information. The United States proposed that if Plaintiffs become aware of the need to

 file information that could be considered personal, they contact the United States to discuss prior

 to filing. Plaintiffs stated that there does not appear to be a dispute about this issue and that if the

 United States seeks to protect additional information, it is the United States’ burden to describe

 the protected information with particularity in order to make sure information is redacted in the

 future. The United States proposed that the Court protect the information that the parties have

 consented to and that it may seek leave to add information at a later time.

         The parties agree that home addresses, telephone numbers, personal email addresses, and

 any information identified in Federal Rule of Civil Procedure 5.2 should be redacted. Accordingly,

 the Court finds good cause has been shown to redact such information, and the Court ORDERS

 that such information be redacted in future filings. The United States may seek leave to expand

 the definition of “personal information” if it believes an expansion is warranted. Further, if




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 information needs to be filed in the record that could be considered personal, the Court encourages

 the parties to discuss the matter with one another prior to filing the information.

        As a final matter, the Court notes that the United States’ Motion requests that the Clerk

 redact the personal information from documents that have already been filed. The Clerk is not

 responsible for redacting documents that the parties file. The parties are DIRECTED to work

 together to make appropriate redactions on the documents that have been filed that contain personal

 information and to submit these documents on a CD or flash drive to the Clerk’s office. The Clerk

 will replace the unredacted documents with the redacted documents once they are received. The

 Clerk SHALL temporarily seal the following documents: [Doc. 1], [Doc. 1-4], [Doc. 1-9], [Doc.

 1-11], [Doc. 1-13], [Docs. 9-10], [Doc. 12], [Docs. 16-17], [Docs. 18-19], and [Doc. 25]. The

 Clerk will automatically unseal the documents on April 12, 2019, should the redacted documents

 not be received. Accordingly, the United States’ Motion for Entry of Protective Order [Doc. 27]

 is GRANTED IN PART AND DENIED IN PART.

        IT IS SO ORDERED.

                                               ENTER:




                                               United States Magistrate Judge




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